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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------x
JOSEPH JACKSON                                                               ANSWER

                                                    Plaintiff,               Jury Trial Demanded

                 -against-                                                   18-CV-3007(JS)(GRB)

NASSAU COUNTY; NASSAU COUNTY POLICE
DEPARTMENT; THE INCORPORATED VILLAGE OF
FREEPORT et al.,

                                                     Defendants.
-------------------------------------------------------------------------x

        Defendants the Incorporated Village of Freeport, the Village of Freeport Police

Department, Detective Sharkey, Police Officer Michael C. Pomerico, Police Officer Murray,

Police Officer Paulck (herein improperly named Police Officer Pavlick), Detective David L.

Zimmer, Police Officer Barry McGovern, Detective Jerl Mullen, Police Officer Melendez,

Lieutenant Burdette, Sergeant McHale, Sergeant Noll, Police Officer Timothy Ortiz,

Detective Turner, Detective Edward Haggerty, Detective Giordano, Police Officer Lester,

Detective Andujar, Police Officer Hall, and Police Officer Barella (herein improperly named

Police Officer Parella) (hereinafter the “Village Defendants”), by their attorneys, Harris

Beach PLLC, answer the complaint as follows:

                                                INTRODUCTION

        1.       Deny the allegations set forth in paragraph “1” of the complaint.

        2.       Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “2” of the complaint.

        3.       Deny the allegations set forth in paragraph “3” of the complaint.
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                                    NATURE OF THE ACTION

       4.      Deny the allegations set forth in paragraph “4” of the complaint, except admit

that plaintiff purports to bring this action as stated therein.

                                  JURISDICTION AND VENUE

       5.      Deny the allegations set forth in paragraph “5” of the complaint, except admit

that plaintiff purports to bring this action as stated therein.

       6.      Deny the allegations set forth in paragraph “6” of the complaint, except admit

that plaintiff purports to bring this action as stated therein.

       7.      Deny the allegations set forth in paragraph “7” of the complaint, except admit

that plaintiff purports to bring this action as stated therein.

                                        NOTICE OF CLAIM

       8.      Deny the allegations set forth in paragraph “8” of the complaint, except admit

plaintiff served a Notice of Claim upon the Village of Freeport by United States Postal

Service dated March 8, 2018.

       9.      Deny the allegations set forth in paragraph “9” of the complaint.

       10.     Deny the allegations set forth in paragraph “10” of the complaint.

                                           JURY DEMAND

       11.     Deny the allegations set forth in paragraph “11” of the complaint, except

admit that plaintiff purports to bring this action as stated therein.




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                                             PARTIES

       12.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “12” of the complaint.

       13.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “13” of the complaint.

       14.    Deny the allegations set forth in paragraph “14” of the complaint, except

admit that the Village of Freeport is a village located within the Town of Hempstead, Nassau

County and operates the Village of Freeport Police Department.

       15.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “15” of the complaint.

       16.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “16” of the complaint.

       17.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “17” of the complaint.

       18.    Deny the allegations set forth in paragraph “18” of the complaint.

                                   STATEMENT OF FACTS

       19.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “19” of the complaint.

       20.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “20” of the complaint.

       21.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “21” of the complaint.


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       22.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “22” of the complaint.

       23.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “23” of the complaint.

       24.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “24” of the complaint.

       25.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “25” of the complaint.

       26.    Deny the allegations set forth in paragraph “26” of the complaint.

       27.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “27” of the complaint.

       28.    Deny the allegations set forth in paragraph “28” of the complaint.

       29.    Deny the allegations set forth in paragraph “29” of the complaint.

       30.    Deny the allegations set forth in paragraph “30” of the complaint.

       31.    Deny the allegations set forth in paragraph “31” of the complaint.

       32.    Deny the allegations set forth in paragraph “32” of the complaint.

       33.    Deny the allegations set forth in paragraph “33” of the complaint.

       34.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “34” of the complaint.

       35.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “35” of the complaint.

       36.    Deny the allegations set forth in paragraph “36” of the complaint.


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       37.    Deny the allegations set forth in paragraph “37” of the complaint.

       38.    Deny the allegations set forth in paragraph “38” of the complaint.

       39.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “39” of the complaint.

       40.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “40” of the complaint.

       41.    The allegations set forth in paragraph “41” of the complaint contain legal

conclusions to which no response is required. To the extent a response is required, Village

Defendants deny the allegations set forth in paragraph “41” of the complaint.

       42.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “42” of the complaint.

       43.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “43” of the complaint.

       44.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “44” of the complaint.

       45.    Deny the allegations set forth in paragraph “45” of the complaint.

                         THE SCIENCE OF FALSE CONFESSIONS

       46.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “46” of the complaint.

       47.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “47” of the complaint.




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       48.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “48” of the complaint.

       49.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “49” of the complaint.

       50.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “50” of the complaint.

       51.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “51” of the complaint.

       52.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “52” of the complaint.

       53.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “53” of the complaint.

       54.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “54” of the complaint.

       55.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “55” of the complaint.

       56.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “56” of the complaint.

       57.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “57” of the complaint.

       58.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “58” of the complaint.


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             DEFENDANTS’ MALICE AND DELIBERATE INDIFFERENCE

       59.    Deny the allegations set forth in paragraph “59” of the complaint.

       60.    Deny the allegations set forth in paragraph “60” of the complaint.

       61.    Deny the allegations set forth in paragraph “61” of the complaint.

       62.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “62” of the complaint.

       63.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “63” of the complaint.

             NASSAU COUNTY AND FREEPORT’S UNCONSTITUTIONAL
                                POLICIES

       64.    Deny the allegations set forth in paragraph “64” of the complaint.

       65.    Deny the allegations set forth in paragraph “65” of the complaint.

       66.    Deny the allegations set forth in paragraph “66” of the complaint.

       67.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “67” of the complaint.

                          PLAINTIFF’S INJURIES AND DAMAGES

       68.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “68” of the complaint.

       69.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “69” of the complaint.

       70.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “70” of the complaint.



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       71.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “71” of the complaint.

       72.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “72” of the complaint.

       73.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “73” of the complaint.

                                            FIRST CLAIM

       74.     In response to the allegations set forth in paragraph “74” of the complaint,

Village Defendants repeat and reallege the responses set forth in paragraphs “1” through

“73” of this answer as is fully set forth herein.

       75.     Deny the allegations set forth in paragraph “75” of the complaint.

       76.     Deny the allegations set forth in paragraph “76” of the complaint.

       77.     Deny the allegations set forth in paragraph “77” of the complaint.

       78.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “78” of the complaint.

       79.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “79” of the complaint.

                                          SECOND CLAIM

       80.     In response to the allegations set forth in paragraph “80” of the complaint,

Village Defendants repeat and reallege the responses set forth in paragraphs “1” through

“79” of this answer as is fully set forth herein.

       81.     Deny the allegations set forth in paragraph “81” of the complaint.


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       82.     Deny the allegations set forth in paragraph “82” of the complaint.

       83.     Deny the allegations set forth in paragraph “83” of the complaint.

       84.     The allegations set forth in paragraph “84” of the complaint contain legal

conclusions to which no response is required. To the extent a response is required, Village

Defendants deny the allegations set forth in paragraph “84” of the complaint.

       85.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “85” of the complaint.

                                           THIRD CLAIM

       86.     In response to the allegations set forth in paragraph “86” of the complaint,

Village Defendants repeat and reallege the responses set forth in paragraphs “1” through

“85” of this answer as is fully set forth herein.

       87.     Deny the allegations set forth in paragraph “87” of the complaint.

       88.     Deny the allegations set forth in paragraph “88” of the complaint.

       89.     Deny the allegations set forth in paragraph “89” of the complaint.

                                          FOURTH CLAIM

       90.     In response to the allegations set forth in paragraph “90” of the complaint,

Village Defendants repeat and reallege the responses set forth in paragraphs “1” through

“89” of this answer as is fully set forth herein.

       91.     Deny the allegations set forth in paragraph “91” of the complaint.

       92.     Deny the allegations set forth in paragraph “92” of the complaint.

       93.     Deny the allegations set forth in paragraph “93” of the complaint.

       94.     Deny the allegations set forth in paragraph “94” of the complaint.


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        95.     The allegations set forth in paragraph “95” of the complaint contain legal

 conclusions to which no response is required. To the extent a response is required, Village

 Defendants deny the allegations set forth in paragraph “95” of the complaint.

                                             FIFTH CLAIM

        96.     In response to the allegations set forth in paragraph “96” of the complaint,

 Village Defendants repeat and reallege the responses set forth in paragraphs “1” through

 “95” of this answer as is fully set forth herein.

        97.     Deny the allegations set forth in paragraph “97” of the complaint.

        98.     Deny the allegations set forth in paragraph “98” of the complaint.

        99.     Deny the allegations set forth in paragraph “99” of the complaint.

        100.    Deny the allegations set forth in paragraph “100” of the complaint.

        101.    Deny the allegations set forth in paragraph “101” of the complaint.

        102.    Deny the allegations set forth in paragraph “102” of the complaint.

                                             SIXTH CLAIM

        103.    In response to the allegations set forth in paragraph “103” of the complaint,

 Village Defendants repeat and reallege the responses set forth in paragraphs “1” through

 “102” of this answer as is fully set forth herein.

        104.    Deny the allegations set forth in paragraph “104” of the complaint.

        105.    Deny the allegations set forth in paragraph “105” of the complaint.

        106.    Deny the allegations set forth in paragraph “106” of the complaint.

        107.    Deny knowledge or information sufficient to form a belief as to the truth of

 the allegations set forth in paragraph “107” of the complaint.


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        108.    Deny knowledge or information sufficient to form a belief as to the truth of

 the allegations set forth in paragraph “108” of the complaint.

        109.    Deny knowledge or information sufficient to form a belief as to the truth of

 the allegations set forth in paragraph “109” of the complaint.

                                          SEVENTH CLAIM

        110.    In response to the allegations set forth in paragraph “110” of the complaint,

 Village Defendants repeat and reallege the responses set forth in paragraphs “1” through

 “109” of this answer as is fully set forth herein.

        111.    Deny the allegations set forth in paragraph “111” of the complaint.

        112.    Deny knowledge or information sufficient to form a belief as to the truth of

 the allegations set forth in paragraph “112” of the complaint.

        113.    Deny knowledge or information sufficient to form a belief as to the truth of

 the allegations set forth in paragraph “113” of the complaint.

                                           EIGHTH CLAIM

        114.    In response to the allegations set forth in paragraph “114” of the complaint,

 Village Defendants repeat and reallege the responses set forth in paragraphs “1” through

 “113” of this answer as is fully set forth herein.

        115.    Deny the allegations set forth in paragraph “115” of the complaint.

        116.    Deny the allegations set forth in paragraph “116” of the complaint.

        117.    Deny knowledge or information sufficient to form a belief as to the truth of

 the allegations set forth in paragraph “117” of the complaint.




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                                              NINTH CLAIM

         118.   In response to the allegations set forth in paragraph “118” of the complaint,

 Village Defendants repeat and reallege the responses set forth in paragraphs “1” through

 “117” of this answer as is fully set forth herein.

         119.   Deny the allegations set forth in paragraph “119” of the complaint.

         120.   Deny knowledge or information sufficient to form a belief as to the truth of

 the allegations set forth in paragraph “120” of the complaint.

                       AS AND FOR A FIRST AFFIRMATIVE DEFENSE

         121.   The complaint fails to state a claim upon which relief can be granted.

                     AS AND FOR A SECOND AFFIRMATIVE DEFENSE

         122.   The Village Defendants had good, reasonable and probable cause to perform

 any duties in relation to the arrest of the Plaintiff. The Village Defendants acted in good

 faith and without malice in relation to the arrest of the Plaintiff.

                      AS AND FOR A THIRD AFFIRMATIVE DEFENSE

         123.   The Plaintiff committed illegal acts in violation of state, local and common

 laws.

                     AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

         124.   The alleged acts of conduct of the Village Defendants, under the case of

 Monell v. New York State Department of Social Services, 436 U.S. 658 (1978), or pursuant

 to 42 U.S.C. § 1983, does not create vicarious liability pursuant to the doctrine of respondent

 superior and consequently the Village Defendants cannot be liable for any acts or conduct of

 any individual herein, as a matter of law.


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                     AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

        125.   This Court lacks personal jurisdiction over and against the Village Defendants.

                      AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

        126.   This Court lacks subject matter jurisdiction over the claims asserted in the

 Complaint.

                   AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

        127.   Village Defendants have not violated any rights, privileges, or immunities

 under the Constitution of the United States, the laws of the United States, the Constitution

 of the State of New York, or the laws of the State of New York, nor have Village

 Defendants violated any act of Congress providing for the protection of civil rights.

                   AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

        128.   Any injury alleged to have been sustained by plaintiff is the result of plaintiff’s

 own culpable or negligent conduct, or the conduct or negligent conduct of non-parties and

 was not the proximate result of any act of Village Defendants.

                     AS AND FOR A NINTH AFFIRMATIVE DEFENSE

        129.   The Village Defendants are entitled to absolute immunity.

                     AS AND FOR A TENTH AFFIRMATIVE DEFENSE

        130.   The Village Defendants are entitled to qualified immunity.

                 AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

        131.   The Plaintiff is prohibited from recovering punitive damages from the Village

 Defendants as a matter of law.




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                    AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

        132.     Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

 limitations.

                  AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

        133.     The claims asserted in Plaintiff’s complaint are barred by the doctrine of

 estoppel and laches.

                  AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

        134.     The claims asserted in Plaintiff’s complaint are barred by the doctrine of

 unclean hands.

                   AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

        135.     The Village Defendants deny any and all allegations of liability in the

 complaint, however, any injuries and/or damages allegedly sustained by the Plaintiffs, to the

 extent the Plaintiffs may be able to prove said injuries and/or damages, were caused by the

 acts and/or omissions or third parties over which the Village Defendants do not have

 control.

                AS AND FOR A CROSS-CLAIM AGAINST COUNTY OF NASSAU

        136.     If the Plaintiff sustained any damages and/or injuries alleged in the complaint,

 such damages and/or injuries were caused by and resulted from acts and omissions of Co-

 Defendant, County of Nassau.

        137.     If the Plaintiff recovers a verdict against the Village Defendants for the

 damages and/or injuries alleged in the complaint, such liability would have been caused by

 and resulted from acts and omissions of Co-Defendant, County of Nassau.


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        138.    If any judgments are rendered in favor of the Plaintiff against the Village

 Defendants for the damages and/or injuries alleged in the complaint, such liability would

 have been caused by and resulted from the acts and omissions of Co-Defendant, County of

 Nassau.

        139.    By reason of the foregoing, if any judgments and/or verdicts are rendered in

 favor of the Plaintiffs against the Village Defendants, the Village Defendants shall be entitled

 to contribution and/or indemnification over and against Co-Defendant, County of Nassau,

 including but not limited to costs, expenses and attorneys fees.

        140.    By reason of the foregoing, if any judgments and/or verdicts are rendered in

 favor of the Plaintiff against the Village Defendants, the Co-Defendant, County of Nassau,

 shall be liable in whole or in part for said judgments and/or verdicts and for the costs,

 expenses and attorneys fees incurred by the Village Defendants.

               AS AND FOR A CROSS-CLAIM AGAINST COUNTY OF NASSAU
                              POLICE DEPARTMENT

        141.    If the Plaintiff sustained any damages and/or injuries alleged in the Complaint,

 such damages and/or injuries were caused by and resulted from acts and omissions of Co-

 Defendant, County of Nassau Police Department.

        142.    If the Plaintiff recovers a verdict against the Village Defendants for the

 damages and/or injuries alleged in the complaint, such liability would have been caused by

 and resulted from acts and omissions of Co-Defendant, County of Nassau Police

 Department.

        143.    If any judgments are rendered in favor of the Plaintiff against the Village

 Defendants for the damages and/or injuries alleged in the complaint, such liability would

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 have been caused by and resulted from the acts and omissions of Co-Defendant, County of

 Nassau Police Department.

        144.   By reason of the foregoing, if any judgments and/or verdicts are rendered in

 favor of the Plaintiffs against the Village Defendants, the Village Defendants shall be entitled

 to contribution and/or indemnification over and against Co-Defendant, County of Nassau

 Police Department, including but not limited to costs, expenses and attorneys fees.

        145.   By reason of the foregoing, if any judgments and/or verdicts are rendered in

 favor of the Plaintiff against the Village Defendants, the Co-Defendant, County of Nassau

 Police Department, shall be liable in whole or in part for said judgments and/or verdicts and

 for the costs, expenses and attorneys fees incurred by the Village Defendants.




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 AS AND FOR A CROSS-CLAIM AGAINST DETECTIVE ROBERT DEMPSEY;
  DETECTIVE GARY ABBONDANDELO; DETECTIVE JOHN M. HOLLAND;
   DETECTIVE FRANK ALLAIRE; DETECTIVE M. HERTS; DETECTIVE M.
     ALGIN; LIEUTENANT FITZWILLIAM; DETECTIVE WOOLSEY; AMT
 BARALLO; SERGEANT RICHARDSON; POLICE OFFICER TRIESCH; POLICE
     OFFICER ERDMANN; SERGEANT LOWRY; DETECTIVE ANTHONY
  SORRENTINO; DETECTIVE GEORGE LUDWIG; DETECTIVE LAURETTE
      KEMP; DETECTIVE WILLIAM TWEEDY; DETECTIVE BENNER;
 DETECTIVE PETERSON; LIEUTENANT FRANK CAPARELLI; DETECTIVE
      ANTHONY KOSIER; DETECTIVE MARTIN ALGER; DETECTIVE
   SERGEANT DAN SEVERIN; AND JOHN AND JANE DOE 1 THROUGH 20
      (HEREINAFTER “INDIVIDUALLY NAMED CO-DEFENDANTS”)

        146.   If the Plaintiff sustained any damages and/or injuries alleged in the complaint,

 such damages and/or injuries were caused by and resulted from acts and omissions of the

 Individually Named Co-Defendants.

        147.   If the Plaintiff recovers a verdict against the Village Defendants for the

 damages and/or injuries alleged in the complaint, such liability would have been caused by

 and resulted from acts and omissions of Individually Named Co-Defendants.

        148.   If any judgments are rendered in favor of the Plaintiff against the Village

 Defendants for the damages and/or injuries alleged in the complaint, such liability would

 have been caused by and resulted from the acts and omissions of Individually Named Co-

 Defendants.

        149.   By reason of the foregoing, if any judgments and/or verdicts are rendered in

 favor of the Plaintiffs against the Village Defendants, the Village Defendants shall be entitled

 to contribution and/or indemnification over and against Individually Named Co-

 Defendants, including but not limited to costs, expenses and attorneys fees.




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          150.   By reason of the foregoing, if any judgments and/or verdicts are rendered in

 favor of the Plaintiff against the Village Defendants, the Individually Named Co-Defendants

 shall be liable in whole or in part for said judgments and/or verdicts and for the costs,

 expenses and attorneys fees incurred by the Village Defendants.

          WHEREFORE, the Defendants respectfully demand judgment dismissing the

 complaint, together with costs, disbursements, and reasonable attorney’s fees, and such other

 and further relief as this Court deem just, proper and equitable.



 Dated:          Uniondale, New York
                 August 6, 2018


                                                    HARRIS BEACH PLLC
                                                    Attorneys for the Village Defendants

                                                    s/Keith M. Corbett
                                                    Keith M. Corbett, Esq.
                                                    333 Earle Ovington Blvd., Suite 901
                                                    Uniondale, New York 11553
                                                    (516) 880-8484

 To: Harvis & Fett LLP
     Attorneys for Plaintiff
     305 Broadway, 14th Floor
     New York, New York 10007
     Attn: Gabriel P. Harvis, Esq.




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